Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 1 of 16 PageID #: 357



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                                            DEFENDANTS’ REPLY
TYSHAWN BALDWIN, ROBERT THOMPSON, and                                       LOCAL RULE 56.1
CHARLES MURRAY,                                                             STATEMENT IN SUPPORT
                                                                            OF DEFENDANTS’ MOTION
                                                           Plaintiffs,      FOR PARTIAL SUMMARY
                                                                            JUDGMENT AND IN
                              -against-                                     OPPOSITION TO
                                                                            PLAINTIFFS’
CITY OF NEW YORK, Lt. RYAN GILLIS, Sgt. NICKO
SINGKUAN, P.O. MICHAEL ZWEIFLER, P.O.                                       18 CV 7366 (NG) (SMG)
ANTONIO ZORRILLA, Sgt. JOSEPH KOSEK, P.O.
THOMAS BAY, P.O. ETHAN COOLEY, P.O. ARNOLD
CHOW, P.O. CLEEFORD FRANKLIN, and JOHN and
JANE DOE 1 through 10, individually (the names John and
Jane Doe being fictitious, as the true names are presently
unknown),

                                                        Defendants.

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 A.       Relevant Factual Background


                   Defendants’ Rule 56.1 Paragraph 1:
                   On December 26, 2018, plaintiffs Tyshawn Baldwin, Charles Murray, and
                   Robert Thompson filed their Complaint in this case against the City of
                   New York and John Doe 1-10. Dkt. No. 1.

                   Plaintiffs’ Response: Admitted.

                   Defendants’ Rule 56.1 Paragraph 2:
                   On April 1, 2019, defendant City filed an Answer and an Amended
                   Answer to the Complaint. Dkt. Nos. 9 and 10.

                   Plaintiffs’ Response: Admitted.


                   Defendants’ Rule 56.1 Paragraph 3:
                   On May 21, 2019, plaintiffs filed an Amended Complaint in this case.
                   Dkt. No. 13 and Exhibit A.

                   Plaintiffs’ Response: Admitted.


                   Defendants’ Rule 56.1 Paragraph 4:
                   The Amended Complaint added, (sic) as defendants Ryan Gillis, Nicko
                   Singkuan, Michael Zweifler, Antonion Zorilla, Joseph Kosek, Thomas
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 2 of 16 PageID #: 358



            Bay, Ethan Cooley, Arnold Chow and Cleeford Franklin. Dkt. No. 13
            and Exhibit A, passim.

            Plaintiffs’ Response: Admitted
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 3 of 16 PageID #: 359



             Defendants’ Rule 56.1 Paragraph 5:
             The Amended Complaint alleges claims under the Fourth, Fifth and
             Fourteenth Amendments for false arrest, excessive force, failure to
             intervene, malicious prosecution, and denial of a right to fair trial
             against the individual defendants. Dkt. No. 13 and Exhibit A, passim.

             Plaintiffs’ Response: Admitted in part, denied in part.

             As set forth in defendants’ Exhibit A, plaintiffs asserted claims against the
             defendants under 42 USC §1983 for (i) false arrest, (ii) unreasonable search,
             (iii) failing to interevene, (iv) malicious prosecution, and (v) denial of the right
             to a fair trial. (Defs. Exh. A at pp. 4-7).

             Defendants’ Rule 56.1 Paragraph 6:
             On June 4, 2019 defendant the City answered the Amended Complaint.
             On August 9, 2019 defendants Ryan Gillis, Nicko Singkuan, Michael
             Zweifler, Antonion Zorilla, Joseph Kosek, Thomas Bay, Ethan Cooley,
             Arnold Chow and Cleeford Franklin answered the Amended
             Complaint. Dkt. Nos. 16 and 19.

             Plaintiffs’ Response: Admitted.


             Defendants’ Rule 56.1 Paragraph 7:
             Plaintiffs voluntarily dismissed all claims against defendants the City
             of New York, Singkuan, Cooley, Chow, and Franklin. See Dkt. Entry.
             dated July 28, 2021.

             Plaintiffs’ Response: Admitted.



 B.    The Plaintiffs are Arrested

             Defendants’ Rule 56.1 Paragraph 8:
             On June 23, 2018 plaintiffs Baldwin, Murray and Thompson were
             arrested for suspected loitering and gambling in public outside of 140A
             Lexington Avenue in Brooklyn. Ex. B (Murray Dep). at 41:17-19.

             Plaintiffs’ Response: Admitted in part, denied in part.

             Admitted that plaintiffs Baldwin, Murray, and Thompson were arrested on June
             23, 2018, in Brooklyn, New York, on Lexington Avenue between Bedford and
             Franklin Avenues (hereinafter the “Arrest location”). (See deposition transcript
             of

                                               2
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 4 of 16 PageID #: 360




             Robert Thompson [“Thompson Dep.”], attached as to the November 29, 2021
             Declaration of Michael Lumer [“Lumer Dec.”] as Exhibit 1, at 32:3-16).

             Admitted that Thompson was arrested for Promoting Gambling in the 2d
             Degreein violation of NY Penal Law §225.05 and Loitering for the Purpose of
             Gambling in violation of NY Penal Law §240.35(02). (NYPD Arrest Report for
             Robert Thompson attached to the Lumer Dec. as Exhibit 2 at p.1).

             Admitted that Baldwin was arrested for Promoting Gambling in the 2d Degree in
             violation of NY Penal Law §225.05, Loitering for the Purpose of Gambling in
             violation of NY Penal Law §240.35(02), Criminal Possession of Marijuana in
             violation of NY Penal Law §221.10(01), and Public Consummation of Alcohol in
             violation of AC §10-125. (NYPD Arrest Report for Tyshawn Baldwin attached
             tothe Lumer Dec. as Exhibit 3 at p.1).

             Admitted that Murray was arrested for Loitering for the Purpose of Gambling
             in the 2d Degree in violation of NY Penal Law §240.35 as set out in Criminal
             Summons 4444065724 issued by defendant Zweifler. (Def. Exh. C at D 486).

             Denied that any of the plaintiffs were arrested for “suspected” loitering and
             gambling. Defendants’ insertion of the word “suspected” is not supported by the
             arrest paperwork they created, in which they claim that plaintiffs were arrested
             for playing dice for money. ((Exh. 2 at 1; Exh. 3 at 1; Defs. Exh. C at D 005).
             Moreover, there is no crime of “suspected loitering” or “suspected gambling”
             nor does this qualifying term appear anywhere in the penal code cited by
             defendants.


             Defendants’ Rule 56.1 Paragraph 9:
             After being arrested, Murray was placed in a patrol car and
             transported to the 79th Precinct. Ex. B (Murray Dep.) at 42:5-18.

             Plaintiffs’ Response: Admitted.


 C.    Plaintiff Murray Is Issued a Summons Which
       Is Ultimately Dismissed for Legal Insufficiency

               Defendants’ Rule 56.1 Paragraph 10:
Murray was charged with illegal loitering and gambling, PL § 240.35(2) and
released with a C-summons. Ex. B (Murray Dep.) at 46:9-24 and 50:6-51:5 and Ex. C
(Summons).

             Plaintiffs’ Response: Admitted that Murray was arrested for Loitering for the
             Purpose of Gambling in violation of NY Penal Law §240.35(02) as set out in
             Criminal Summons 4444065724 issued by defendant Zweifler. (Def. Exh. C at D
                                               3
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 5 of 16 PageID #: 361



            486).




                                      4
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 6 of 16 PageID #: 362



            Defendants’ Rule 56.1 Paragraph 11:
            The summons was signed by Officer Zweifler. Ex. C (Summons) D000486.

            Plaintiffs’ Response: Admitted.


            Defendants’ Rule 56.1 Paragraph 12:
            Murray was in custody for between one to two hours before he
            was released. Ex. B (Murray Dep.) at 48:20-22.

            Plaintiffs’ Response: Denied. Murray’s recollection at his deposition, as cited
            by defendants, was limited to his memory of the length of time he was at the
            police precinct, which he estimated to be between one to two hours.

            The first few minutes of Zweifler’s body cam footage shows the plaintiffs were
            detained at or prior to 5:29 pm. (Zweifler BWC footage [file number 1 of 2]
            attached to the Lumer Dec. as Exhibit 4). According to the precinct’s command
            log, Murray’s property was returned to him at 11:05 pm, establishing that
            Murray was detained or otherwise in defendants’ custody for over five hours.
            (See the Command Log attached as Exhibit 5 (redactions by defendants)).

            Disputed. The Command Log, Plaintiffs’ Exhibit 5 as cited by plaintiff reads that
            Murray was arrested at 17:40 and “Released 1855 hours 6/23/18”. This amounts to
            an hour and fifteen minutes, or, according to Zweifler’s BWC footage, Plaintiffs’
            Exhibit 4, an hour and twenty minutes. Either is consistent with Murray’s
            testimony that he was in custody for an hour or two as cited in Defendants’ 56.1
            ¶8. Murray was not in custody for 5 hours.


            Defendants’ Rule 56.1 Paragraph 13:
            Murray made a single court appearance which lasted approximately
            5 minutes. Ex. B (Murray Dep.) at 50:6-51:5.

            Plaintiffs’ Response: Admitted in part, denied in part.

            Admitted that Murray’s summons was dismissed at his first court appearance.

            Denied that the entire court appearance lasted five minutes. Murray’s actual
            testimony was:

                   Yes, as soon as I got up there, she read and looked
                   at it and said the officer didn't do something
                   correct and she dismissed it, and I walked out. I
                   was there for about five-ten minutes. I was there
                   longer, but by the time I spoke to the judge, it was
                   five minutes. She did it quick.
                                              5
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 7 of 16 PageID #: 363



             (Def. Exh. B. At 50:6-11). This statement establishes that Murray was
             standing for about five to ten minutes while his case was before the court. The
             record is silent as to how long he was in court until his case was called.
             Disputed. Plaintiff’s testimony does not dispute Defendant’s ¶13. There is no
             evidence that Murray spent more than approximately five minutes in court.


             Defendants’ Rule 56.1 Paragraph 14:
             The charge against Murray was dismissed for legal insufficiency after
             that single court appearance. Ex. B (Murray Dep.) at 50:6-51:5 and Ex. D
             (Certificate of Disposition) D000487.

             Plaintiffs’ Response: Admitted.


                             Plaintiffs’ Statement of Material
                            Facts Pursuant to Local Rule 56.1

 A.    Relevant Factual Background: the Arrests

       8.    Plaintiffs’ 56.1 at paragraph “15”: Plaintiff Tyshawn Baldwin was present
             at the Arrest location on Lexington Avenue between Bedford and
             Franklin Avenues in Brooklyn, New York, during the day on June 23,
             2018. (See deposition transcript of Tyshawn Baldwin [“Baldwin Dep.”],
             attached as Exhibit 6 to the Lumer Dec. at 25:22-26:1).

             Defendants’ Response: Disputed to the extent that the cited transcript does not
             support the statement set forth above and only supports that Baldwin testified at his
             deposition that he was in the “Lexington area” for hours before the officers arrived.

       9.    Plaintiffs’ 56.1 at paragraph “16”: Plaintiff Charles Murray drove to the
             Arrest location on the date of the arrest in his black 2016 Dodge
             Charger. (See deposition transcript of Charles Murray [“Murray
             Dep.”], attached as Exhibit 7 to the Lumer Dec. at 28:3-14).

             Defendants’ response: Admitted.

       10.   Plaintiffs’ 56.1 at paragraph “17”: Plaintiffs Baldwin, Thompson, and
             Murray met at the Arrest location prior to the arrival of the NYPD.
             (Exh. 7, Murray Dep., at 27:20-28:19).

             Defendants’ response: Admitted.

       11.   Plaintiffs’ 56.1 at paragraph “18”: Other people were present,
             including Kashaun Richardson. (Exh. 1, Thompson Dep., at 37:14-
             19; Exh. 6, Baldwin Dep., at 24:5-10).
                                            6
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 8 of 16 PageID #: 364




               Defendants’ response: Admitted.

        12.   Plaintiffs’ 56.1 at paragraph “19”: Plaintiffs were not engaged in any
              criminal conduct and there was no legal basis to seize or arrest the
              plaintiffs. (Def. Exh. A at ¶¶ 12-16).

               Defendants’ response: Disputed. See Plaintiff’s Exhibits 2, 3, 17.


        13.   Plaintiffs’ 56.1 at paragraph “20”: Defendant Kosek was alone in his
              personal vehicle on June 23, 2018, when he drove down Lexington
              Avenue and observed men gambling with dice. (See deposition
              transcript of Joseph Kosek [“Kosek Dep.”], attached as Exhibit 8 to the
              Lumer Dec. at 18:11-16, 20:11-21:11, 28:3-14).

               Defendants’ response: Admitted.


        14.   Plaintiffs’ 56.1 at paragraph “21”: Kosek claims that as he drove along
              Lexington Avenue, he was able to see four males engaged in a game of
              dice in which one person rolled dice and that he could see others
              exchanging money based on the roll of the dice. (Exh. 8, Kosek Dep., at
              22:9-24.4, 26:9-19).

               Defendants’ response: Admitted.

        15.   Plaintiffs’ 56.1 at paragraph “22”: Kosek telephoned defendant Lt.
              Ryan Gillis to communicate what he claims to have seen. (Exh. 8,
              Kosek Dep., at 25:4-19).

               Defendants’ response: Disputed to the extent that the cited testimony does not
               support what Kosek communicated to Gillis when he called him; admitted to the
               extent that Kosek called Gillis.

        16.   Plaintiffs’ 56.1 at paragraph “23”: Kosek drove an unspecified distance
              down the block before pulling over and climbing into the rear of his
              vehicle to continue observing the men. (Exh. 8, Kosek Dep., at 29:3-25).

Defendants’ response: Admitted.
       17.     Plaintiffs’ 56.1 at paragraph “24”: Gillis, and defendants Michael
               Zweifler and Antonio Zorrilla, drove together to the location. (See
               deposition transcript of Ryan Gillis [“Gillis Dep.”], attached as Exhibit 9
               to the Lumer Dec. at 12:12-13:15; deposition transcript of Michael
               Zweifler [“Zweifler Dep.”], attached as Exhibit 10 to the Lumer Dec.
               at 8:11-9:7; deposition transcript of Antonio Zorrilla [“Zorrilla Dep.”],
               attached as Exhibit 11 to the Lumer Dec. at 9:6-10:15).
                                              7
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 9 of 16 PageID #: 365




Defendants’ response: Admitted.
       18.     Plaintiffs’ 56.1 at paragraph “25”: When they arrived at the location,
               defendants Gillis, Zweifler, and Zorrilla found three men leaning against
               a car. (Exh. 9, Gillis Dep., at 21:4-12; Exh. 10, Zweifler Dep., at 10:24-
               11:14).

              Defendants’ response: Admitted.

       19.    Plaintiffs’ 56.1 at paragraph “26”: None of these men, nor anybody else,
              was rolling dice or gambling. (Exh. 9, Gillis Dep., at 24:18-23; Exh. 10,
              Zweifler Dep., at 10:24-11:8; Exh. 11, Zorrilla Dep., at 13:15-14:8).

              Defendants’ response:
              Admitted only to the extent that the testimony cited supports the following: Gillis
              testified that when they got to the scene, he did not see any dice or any money on
              the ground; Zweifler testified that when he arrived on scene, he did not see the men
              doing anything illegal at that time; Zorrilla testified that when he arrived at the
              location, he did not observe gambling, or any money or dice on the ground.

       20.    Plaintiffs’ 56.1 at paragraph “27”: Gillis was in telephone contact with
              Kosek who confirmed that these individuals were three of the men he
              claimed to have seen gambling, at which time the three men were placed
              under arrest. (Exh. 9, Gillis Dep., at 29:18-31:2; Exh. 10, Zweifler Dep., at
              13:10-14).

              Defendants’ response: Admitted only to the extent that the cited testimony supports
              that Gillis testified that Kosek confirmed that the three individuals at the scene
              were the ones Kosek saw gambling and that Gillis instructed Zweifler/the officers
              to arrest them.

       21.    Plaintiffs’ 56.1 at paragraph “28”: Shortly thereafter Thompson, who had
              been filming the arrest of Baldwin, Murray, and Richardson, was also
              arrested. (Exh. 1, Thompson Dep., at 46:2-23, 48:21-49:24).

              Defendants’ response: Admitted only to the extent that the testimony cited so
              states.

       22.    Plaintiffs’ 56.1 at paragraph “29”: The plaintiffs were transported
              to the 79 precinct station house for processing. (Exh. 9, Gillis Dep.,
              at 50:15-21).

              Defendants’ response: Disputed; the cited testimony does not support the
              statement.

 B.    The Arrest Paperwork and Communications with the KCDA

                                               8
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 10 of 16 PageID #: 366



       23.    Plaintiffs’ 56.1 at paragraph “30”: After returning to the station house
              Zweifler drafted arrest paperwork. (Exh. 10, Zweifler Dep., at 33:22-
              34:7).

              Defendants’ response: Admitted.

       24.    Plaintiffs’ 56.1 at paragraph “31”: The arrest paperwork included a
              complaint report. (See Complaint Report attached to the Lumer Dec. as
              Exhibit 12).
             Defendants’ response: Disputed. The document cited herein does not support the
             statement that the arrest paperwork includes a complaint report.

       25.    Plaintiffs’ 56.1 at paragraph “32”: The complaint report acknowledged
              that the dice were not recovered. (Exh. 12, Complaint Report, at 1).

              Defendants’ response: Admitted, except that the information cited is located at
              page 2.

       26.    Plaintiffs’ 56.1 at paragraph “33”: The complaint report does not make
              any mention of Thompson possessing or discarding or hiding the dice,
              or otherwise tampering with evidence. (Exh. 12, Complaint Report).

              Defendants’ response: Admitted.

       27.    Plaintiffs’ 56.1 at paragraph “34”: Zweifler also drafted an arrest
              report for Thompson. (See Exh. 2, Thompson Arrest Report).

              Defendants’ response: Admitted to the extent that the document cited states that
              Police Officer Michael Zweifler entered the referenced report.

       28.    Plaintiffs’ 56.1 at paragraph “35”: Zweifler does not make any mention of
              Thompson taking any steps or engaging in any conduct to possess,
              discard, or hide the dice, or otherwise tamper with evidence anywhere
              in the arrest report. (Exh. 2, Thompson Arrest Report).

              Defendants’ response: Disputed, the cited document specifically states that
              Thompson “was engaging in dice games where money was exchanged and
              profiting based on the outcome of the game on public sidewalk.” See Exh. 2 at p.
              1.

       29.    Plaintiffs’ 56.1 at paragraph “36”: At about 10:30 pm Zweifler faxed the
              arrest paperwork to the KCDA. (Exh. 10, Zweifler Dep. at 36:1-18, 40:4-
              14).

                                              9
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 11 of 16 PageID #: 367




             Defendants’ response: Admitted.

       30.   Plaintiffs’ 56.1 at paragraph “37”: Zweifler subsequently spoke with a
             member of the KCDA about the arrests where he provided additional
             details, all for the purpose of bringing about the plaintiffs’ criminal
             prosecutions. (Exh. 10, Zweifler Dep., at 40:19-42:3).

             Defendants’ response: Disputed. Zweifler testified that he spoke to the KCDA in
             order to make sure the KCDA got the paperwork in order to prosecute the
             arrested individuals.


       31.   Plaintiffs’ 56.1 at paragraph “38”: On June 24, 2018, Zweifler signed
             the criminal complaint filed against Thompson under penalty of
             perjury. (Exh. 10, Zweifler Dep., at 54:12-55:24; See Thompson
             Criminal Court Complaint attached to the Lumer Dec. as Exhibit 13).

             Defendants’ response: Admitted.

       32.   Plaintiffs’ 56.1 at paragraph “39”: In the criminal complaint filed against
             Thompson the KCDA charged him with loitering for the purpose of
             gambling, promoting gambling, and attempting to tamper with evidence.
             (Exh. 13, Thompson Criminal Court Complaint).

             Defendants’ response: Disputed. . The cited Criminal Court Complaint charges
             plaintiff with Attempted Tampering with Physical Evidence (PL 110/215.40(2)),
             Promoting Gambling in the Second Degree (PL 225.05), and Loitering (PL
             240.35(2)).

       33.   Plaintiffs’ 56.1 at paragraph “40”: The only factual predicate for the
             attempted tampering evidence charge was the allegation that Thompson
             was seen throwing the dice into a car that then drove away. (Exh. 13,
             Thompson Criminal Court Complaint).

             Defendants’ response: Disputed to the extent that that the information cited is the
             “only factual predicate”, but admit that the cited document states that
             Thompson was seen throwing “the dice into a parked vehicle with drove away
             from the location.”

 C.    The Dice and the Car

       34.   Plaintiffs’ 56.1 at paragraph “41”: No dice were ever recovered in
             connection with this arrest. (Exh. 9, Gillis Dep., at 54:4-24; Exh. 10,
             Zweifler Dep., 66:20-67:2; Exh. 12, Complaint Report).

                                               10
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 12 of 16 PageID #: 368




             Defendants’ response: Admitted.

       35.   Plaintiffs’ 56.1 at paragraph “42”: Zweifler swore in the criminal
             complaint that Kosek told him that Kosek saw Thompson throw the
             dice into a parked car that then drove away. (Exh. 13, Thompson
             Criminal Court Complaint).

             Defendants’ response: Disputed. The cited Criminal Court Complaint indicates
             that Zweifler was informed by Kosek that plaintiff interfered with the investigation
             and attempted to prevent Zweifler from recovering the dice by throwing the dice
             into a vehicle.


       36.   Plaintiffs’ 56.1 at paragraph “43”: Zweifler’s sworn claim in the criminal
             complaint about Kosek telling him that Kosek had seen Thompson
             throw the dice was contradicted by Kosek, who has sworn in his
             deposition that Zweifler told him that Zweifler saw Thompson throw the
             dice into a parked car that then drove away. (Exh. 8, Kosek Dep., at
             65:25-67:10).

             Defendants’ response: Disputed. Defendants submit that this statement is improper
             and should be stricken as it is not a statement of fact, but rather an argument
             regarding “contradictions” plaintiffs argue exist. Accordingly, Defendants dispute
             plaintiffs’ argument. Notwithstanding, the record cited by plaintiffs do not support
             this statement. .

       37.   Plaintiffs’ 56.1 at paragraph “44”: Zweifler’s sworn claim in the criminal
             complaint about Kosek telling him that Kosek had seen Thompson
             throw the dice was contradicted by Zweifler himself, when he testified
             at his deposition that he saw Thompson throw the dice into a parked
             car that then drove away. (Exh. 10, Zweifler Dep., at 22:5-25:24).

             Defendants’ response: Disputed. Defendants submit that this statement is improper
             and should be stricken as it is not a statement of fact, but rather an argument
             regarding “contradictions” plaintiffs argue exist. Accordingly, Defendants dispute
             plaintiffs’ argument. Notwithstanding, the record cited by plaintiffs do not support
             this statement.

       38.   Plaintiffs’ 56.1 at paragraph “45”: Surveillance video footage recovered
             from a camera across the street from the scene of the arrest shows
             portions of the arrest and related activities in the upper left hand corner of
             the screen (See Surveillance Video attached to the Lumer Dec., as Exhibit 14).


                                             11
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 13 of 16 PageID #: 369



              Defendants’ response: Disputed. All relevant activities to this case occur in the upper-
              right corner of the surveillance video.


       39.    Plaintiffs’ 56.1 at paragraph “46”: The surveillance video reflects that, at
              about the 1:32:00 mark, Thompson approaches a parked car in front of
              the vehicle where the remaining plaintiffs are being held, opens the
              driver’s side front door of that vehicle, and is partially inside the car
              for about 17-18 seconds. (Exh. 14, Surveillance Video, at 1:32:03-22).
              Defendants’ response: Disputed. It is unclear what is occurring in the cited video
              and the cited evidence does not support this statement.

       40.    Plaintiffs’ 56.1 at paragraph “47”: Thompson does not throw anything
              towards or into the car or otherwise make any sort of gesture or motion
              that suggests he is throwing any sort of object. (Exh. 14, Surveillance
              Video, at 1:32:00-26).

             Defendants’ response: Disputed. It is unclear what is occurring in the cited video
             and the cited evidence does not support this statement

       41.    Plaintiffs’ 56.1 at paragraph “48”: Thompson had gone into the car to
              retrieve Murray’s wallet at Murray’s request because it had his
              identification in it, and thus the video footage showing Thompson inside
              the area of the driver’s side front seat captured Thompson searching for
              Murray’s wallet. (Exh. 1, Thompson Dep., at 81:6- 87:2).

             Defendants’ response: Disputed. Defendants submit that this statement is improper
             and should be stricken as it is not a statement of fact, but rather an argument about
             what Thompson and Murray were doing. Accordingly, Defendants dispute
             plaintiffs’ argument. Notwithstanding, it is unclear what is occurring in the cited
             video and the cited evidence does not support this statement

       42.    Plaintiffs’ 56.1 at paragraph “49”: Thompson is taken into custody
              shortly after emerging from the parked car. (Exh. 10, Zweifler Dep.,
              at 29:13-30:17).

              Defendants’ response: Admitted.

       43.    Plaintiffs’ 56.1 at paragraph “50”: Zweifler swore that he told his fellow
              officers at the scene of the arrest thathe had seen Thompson throw the
              dice into a parked car. (Exh. 10, Zweifler Dep., at 27:12-20, 30:14-17).

              Defendants’ response: Disputed. The cited evidence does not support this
              statement.
                                                  12
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 14 of 16 PageID #: 370




        44.    Plaintiffs’ 56.1 at paragraph “51”: Shortly after Thompson exited the
               vehicle, a police officer opened the same front driver’s side door of
               the car and, for about 33 seconds, searched the same area of the car.
               (Exh. 14, Surveillance Video, at 1:34:45-1:35:18).

               Defendants’ response: Admitted.

        45.    Plaintiffs’ 56.1 at paragraph “52”: Just prior to leaving scene, Zweifler,
               Gillis and Zorrilla searched the area for the dice without success, and
               then entered their vehicle and left the scene. (Exh. 9, Gillis Dep., at
               53:11-54:24, 77:19-24; Zweifler BWC footage [file number 2 of 2]
               attached to the Lumer Dec. as Exhibit 15 at the 4:45- 6:10 mark;
               Zorrilla BWC footage attached to the Lumer Dec. as Exhibit 16 at the
               11:00-13:50 mark).

               Defendants’ response: Admitted.

        46.    Plaintiffs’ 56.1 at paragraph “53”: Zweifler swore in the criminal
               complaint that the car into which he claims that either he or Kosek
               had seen Thompson throw the dice had driven away. (Exh. 13,
               Thompson Criminal Court Complaint).

               Defendants’ response: Disputed. The cited Criminal Court Complaint indicates
               that Zweifler was informed by Kosek.

        47.    Plaintiffs’ 56.1 at paragraph “54”: Zweifler admits that the car was not
               driven away, and surveillance video reflects that the car was not driven
               away. (Exhibit 10, Zweifler Dep., at 65:16-66:11).
               Defendants’ response: Admitted in part, Zweifler admits to having made mistakes
               in plaintiffs’ arrest paperwork. Ex. 10 (Zweifler Dep.) at 65:15-66:5.(this is the
               testimony)

 E.     Murray’s Criminal Summons

        48.    Plaintiffs’ 56.1 at paragraph “55”: Zweifler was directed by a
               supervisor to issue a criminal summons to Charles Murray. (Exh. 10,
               Zweifler Dep., at 46:12-19).

               Defendants’ response: Admitted.

        49.    Plaintiffs’ 56.1 at paragraph “56”: Zweifler understands that a criminal
               summons is a legal document and that Zweifler was executing it
               under penalty of perjury. (Exh. 10, Zweifler Dep., at 47:11-24).
Defendants’ response: Defendants submit that this statement is improper and should be stricken
                                               13
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 15 of 16 PageID #: 371



      as it is not a statement of fact, but rather an argument regarding “understanding” of
      legal concepts. Accordingly, Defendants dispute plaintiffs’ argument.

       50.    Plaintiffs’ 56.1 at paragraph “57”: Zweifler issued Murray a hand-
              written summons charging Murray with loitering for the purpose of
              gambling in violation of N.Y. Penal Law §240.35(2). (Exh. 10, Zweifler
              Dep., at 46:20-47:6; Criminal Summons issued to Charles Murray attached
              to the Lumer Dec. as Exhibit 17).

              Defendants’ response: Admitted.

       51.    Plaintiffs’ 56.1 at paragraph “58”: Zweifler stated in the summons that
              the factual predicate for the issuance of the summons was:

                      At T/P/O the undersigned observed the deft,
                      along with 3 others, standing on a public
                      sidewalk engaging in Dice in which money was
                      exchanged Depending on the outcome of the
                      the Dice. (Exh. 17, Criminal Summons
                      (grammatical errors in original)).

              Defendants’ response: Admitted.

       52.    Plaintiffs’ 56.1 at paragraph “59”: Zweifler admits that he did not see
              anyone playing with dice or gambling and that his claim in
              Murray’s summons that he saw Murray gambling with dice was false.
              (Exh. 10, Zweifler Dep., at 51:22-52:20, 53:19-54:11).

              Defendants’ response: Disputed. See Defendants’ Reply 56.1 at ¶54. Plaintiff cites
              to inadmissible evidence and distorts Zweifler’s testimony. Further, defendants
              timely and correctly objected to plaintiff counsel’s questions which impermissibly
              called for a legal conclusion.

 F.    Thompson’s Prosecution

       53.    Plaintiffs’ 56.1 at paragraph “60”: Thompson was required to appear in
              court multiple times while the prosecution proceeded. (Exh. 1, Thompson
              Dep., at 59:20-21, 61:7-15; Court Record of Action, annexed to the Lumer
              Dec. as Exhibit 18).

              Defendants’ response: Disputed. Plaintiff Thompson was “Not too sure” about how
              many times he appeared in court and the phrase “multiple times” is ambiguous

       54.    Plaintiffs’ 56.1 at paragraph “61”: On or about September 27, 2018,
              the charges against Thompson were dismissed on speedy trial
              grounds. (Exh. 18, Court Record).

                                               14
Case 1:18-cv-07366-NG-JRC Document 58 Filed 02/09/22 Page 16 of 16 PageID #: 372



             Defendants’ response: Admitted.

Dated:      New York, New York
            January 26, 2022

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